         Case 1:18-cv-00507-NBF Document 21 Filed 03/01/19 Page 1 of 4




         3Jn tbe Wniteb $1ates QCourt of ,:Jfeberal QClaints
                                        No. 18-507C
                                   (Filed: March 1, 2019)


                                           )
VIRGINIA ARLENE GOFORTH,                   )
                                           )      Pro Se ; Dismissal for Lack of Subject
               Pro Se Plaintiff,           )      Matter Jurisdiction; Rule 12(b)(l).
                                           )
 V.                                        )
                                           )
 THE UNITED STA TE S,                      )
                                           )
                       Defendant.          )
_ _ _ __ __ _ _                            )


                               ORDER OF DISMISSAL


       On April 4, 2018, plaintiff, Ms. Goforth, filed her complaint in this court

alleging that the United States Supreme Court "denied and violated her constitutional

rights," when the Supreme Court denied her petition for certiorari without providing a

reason. Compl. at 1. Ms . Goforth alleges that the United States Supreme Court's

decision to deny the writ of ce1tiorari, without providing a reason for the denial, is a

violation of the Fourteenth Amendment to the United States Constitution, because

"[t]his practice is discriminatory toward the litigants wh[ o] receive a denial." Compl.

Att. B at 2 (Doc. 1-3 at 2).

       Ms. Goforth's complaint arises from litigation she filed in the United States

District Court for the Southern District of West Virginia claiming damages under the



                                                              7018 0040 0001 1393 1211
        Case 1:18-cv-00507-NBF Document 21 Filed 03/01/19 Page 2 of 4




Federal Tort Claims Act ("FTCA") and Bivens v. Six Unknown Named Agents of the

Federal Bureau of Narcotics, 403 U.S. 388, 395-97 (1971) stemming from her time in

federal prison. Ms. Goforth contends that the District Court erred in dismissing her

case, the United States Court of Appeals for the Fourth Circuit erred in affirming the

District Comt's dismissal of her case, see also Goforth v. Lappin, 643 F. App'x 270

(4th Cir. 2016) (per curiam); and the Supreme Court violated her constitutional rights

when on April 3, 2017, the United States Supreme Comi denied her writ of ce1tiorari

without stating a reason. See Goforth v. Kane, 137 S. Ct. 1444 (2017).

       The government on June 7, 2018 moved to dismiss Ms. Goforth's complaint

under Rule 12(b)(l) of the Rules of the United States Court of Federal Claims. (Doc.

No. 8). The government argues in support of its motion that the complaint must be

dismissed because this court "does not have jurisdiction [to] review the decision[s] of

the [United States] Supreme Court, federal appellate courts, or federal district comis."

Def. 's Mot. to Dismiss at 4 (citing Allustiarte v. United States, 256 F .3d 1349, 1352

(Fed. Cir. 2002); Joshua v. United States, 17 F.3d 378, 379 (Fed. Cir. 1994)). The

government further argues that this court also lacks jurisdiction to hear Ms. Goforth's

constitutional claims because the Due Process Clause is not money mandating. Id. at 5

(citing LeBanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995)). The

government also argues that to the extent Ms. Goforth alleges a tort claim or Bivens

claim, this court does not have subject matter jurisdiction. Id. (citing US. Marine, Inc.

v. United States, 722 F.3d 1360, 1363, 1366 (Fed. Cir. 2015) (the Court of Federal

Claims does not have jurisdiction over tort claims) and Brown v. United States, 105


                                              2
        Case 1:18-cv-00507-NBF Document 21 Filed 03/01/19 Page 3 of 4




F.3d 621,624 (Fed. Cir. 1997) (the Court of Federal Claims does not have jurisdiction

over Bivens claims)).

       The government argues in the alternative that Ms. GoForth's claims are also

ban-ed by the doctrine of res judicata. Apparently, Ms. Goforth was also litigating

identical claims before the Western District of North Carolina which she lost on

August 14, 2015. See Goforth v. United States, No. 1:09-0003, 2015 WL 4878381

(S.D. W.Va. Aug. 14, 2015).

       Ms. Goforth responds that because her claim is based upon the Constitution,

this court has the authority to remand the case back to the Supreme Court. Pl. 's Resp.

at 2 (Doc. No. 15). Ms. Goforth explains that she is not asking for review of her

original case and argues that because the Supreme Court did not grant certiorari, she is

not seeking review of any Supreme Court decision. Id. at 3.

       The court agrees with the government that Ms. Goforth's case must be

dismissed. Under the Tucker Act, 48 U.S.C. § 1491, a plaintiff must identify a

substantive right for money damages to maintain a claim before this court. The United

States Court of Appeals for the Federal Circuit has held that the Due Process Clause is

not money-mandating and thus is not a "sufficient basis for jurisdiction." LeBlanc, 50

F.3d at 1028. The Federal Circuit has also held that this court does not have

jurisdiction over tort or Bivens claims. U.S. Marine, Inc., 722 F.3d at 1363; Brown,

105 F.3d at 624. In addition, to the extent Ms. Goforth's complaint is construed as

seeking a review of the Supreme Court's denial of certiorari or review of the decisions

reached by the Western District of North Carolina District Court or the Fourth Circuit


                                             3
         Case 1:18-cv-00507-NBF Document 21 Filed 03/01/19 Page 4 of 4




Court of Appeals, the court also agrees with the government that this com1 lacks

jurisdiction to review those decisions. See Allustiarte, 256 F.3d at 1352. 1


                                       CONCLUSION


       Because this court does not have jurisdiction over Ms. Goforth's complaint, the

government's June 7, 2018 Motion To Dismiss is GRANTED. The Clerk of Court is

directed to dismiss the April 4, 2018 Complaint for lack of jurisdiction under Rule

12(b)(l) of the Rules of the United States Court of Federal Claims. 2


       IT IS SO ORDERED.




1 Ms. Goforth filed a sur-reply on January 2, 2019 (Doc. No. 17) arguing that this court has
jurisdiction under 28 U.S.C. § 1254(2). 28 U.S.C. § 1254(2) states that "[c]ases in the courts of
appeals may be reviewed by the Supreme Court by the following methods: ... By certification
at any time by a comi of appeals of any question of law .... " (emphasis added). This argument
is meritless.

2 Ms. Gof01ih's motion for leave to file informa pauperis filed on April 4, 2018 (Doc. No. 4)
is GRANTED for the purposes of this motion.



                                                 4
